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                                         UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF MARYLAND
 
    In re:                                                 *

             ROBERT S SIEGAL                               *            Case No. 17-15088-DER

                                                           *                     Chapter 13

                  Debtor                                   *

         *                   *             *               *                 *                *                *
                  COMBINED NOTICE OF CONTINUANCE OF 341 MEETING OF CREDITORS AND
                            NOTICE OF CONTINUED CONFIRMATION HEARING

        Upon the Debtor’s request, and approval by the Chapter 13 Trustee, Robert S. Thomas, II, the Section 341
Meeting of Creditors has been continued to June 30, 2017 at 1:00 p.m. and the Confirmation Hearing set in this matter
has been continued to July 25, 2017 at 2:00 p.m.

      The Meeting of Creditors will be held at the Office of the United States Trustee at 101 West Lombard Street,
Garmatz Courthouse, Second Floor Room 2650, Baltimore, Maryland 21201.

       The Confirmation Hearing will be held at the United States Courthouse at 101 West Lombard Street, Garmatz
Courthouse, Courtroom 9-D, Baltimore, Maryland 21201.

PLEASE BE ADVISED THAT YOU ARE REQUESTED TO SERVE THIS NOTICE TO ALL CREDITORS AND
OTHER PARTIES IN INTEREST LISTED ON THE MAILING MATRIX FILED WITH THE COURT. ALSO, A
CERTIFICATE OF MAILING OF THIS NOTICE MUST BE FILED WITH THE UNITED STATES BANKRUPTCY
COURT WITHIN TEN (10) DAYS OF THE DATE OF THIS NOTICE OR THE MEETING WILL NOT BE
CONDUCTED.

Date:         June 7, 2017                                           /s/ Robert S. Thomas, II
                                                                    Robert S. Thomas, II, Trustee
                                                                    Chapter 13 Trustee
                                                                    300 E. Joppa Road, Suite #409
                                                                    Towson, MD 21286
                                                                    (410) 825-5923
                                                                    inquiries@ch13balt.com

                                               CERTIFICATE OF SERVICE

         I hereby certify that on June 7, 2017, I reviewed the Court’s CM/ECF system and it reports that an electronic
copy of the Notice of Continuance will be served electronically by the Court’s CM/ECF system on the following:

              Joseph Michael Selba
              JSelba@tydingslaw.com
              JDunsmore@tydingslaw.com

         I hereby certify that on June 7, 2017, a copy of the Notice of Continuance was also mailed first class mail,
postage prepaid to:

             ROBERT S SIEGAL
             3015 HUDSON STREET
             BALTIMORE, MD 21224-4950

                                                                     /s/ Robert S. Thomas, II
                                                                    Robert S. Thomas, II, Trustee
